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                             IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )         CRIMINAL NO. 21-mj-00109
                                             )         Mag. Judge: R. MERRIWEATHER
                                             )
SUZANNE IANNI                                )

               Motion for admission of attorney C. HENRY FASOLDT Pro Hac Vice

       Pursuant to Criminal Local Rule 44.1 (c) & (d), Defendant SUZANNE IANNI moves for the

admission and appearance of attorney C. Henry Fasoldt pro hac vice in the above-captioned case.

This motion is supported by the Declaration of Mr. Fasoldt , filed herewith. As set forth in Mr.

Fasoldt’s declaration, he is admitted and an active member in good standing in the following courts

and bars:

   1. Commonwealth of Massachusetts;

   2. United States District Court, District of Massachusetts; and

   3. United States Court of Appeals, First Circuit.

       This motion is supported and signed by Kira Anne West, an active and sponsoring member

of the Bar of this Court.

                                             Respectfully submitted,

                                             KIRA ANNE WEST

                                      By:            /s/
                                             Kira Anne West
                                             DC Bar No. 993523
                                             712 H Street N.E., Unit #509
                                             Washington, D.C. 20002
                                             Phone: 202-236-2042
                                             kiraannewest@gmail.com
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                                     CERTIFICATE OF SERVICE

       I hereby certify on the 26tht day of January, 2021 a copy of same was electronically filed

using the CM/ECF system and thus delivered to the parties of record and in pursuant to the

rules of the Clerk of Court.

                                                       /S/
                                                    Kira Anne West




                               IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
            Case 1:21-mj-00109-RMM Document 5 Filed 01/26/21 Page 3 of 3




       v.                                    )       CRIMINAL NO. 21-mj-00109
                                             )       Mag. Judge: R. MERRIWEATHER
                                             )
SUZANNE IANNI                                )



                                             ORDER


  Pending before the Court is the motion of defendant Suzanne Ianni seeking admission of her

attorney, C. Henry Fasoldt for admission to this Court pro hac vice with support from attorney Kira

Anne West, a member in good standing in this Court. Upon consideration of the motion, finding it

meritorious, the Court grants attorney Fasoldt’s pro hac vice admission to this Court.


  SO ORDERED this ________ day of January, 2021.

                                                            _________________________
                                                            Robin M. Merriweather
                                                            United States Magistrate Judge




                                                 3
